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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

                                            )
SARAH HAPKA, individually, and on behalf of )
all others similarly situated,              )
                                            )
                               Plaintiff,   )
                                            )
     v.                                     )            Case No. 2:16-cv-02372-KGG
                                            )
CARECENTRIX, INC.,                          )
                                            )
                               Defendant.   )
                                            )
                                            )

                    PLAINTIFF’S MOTION FOR FINAL APPROVAL
                         OF CLASS ACTION SETTLEMENT

       Plaintiff Sarah Hapka (“Plaintiff”), on behalf of herself and similarly situated individuals,

respectfully requests that this Court enter an order and judgment (1) granting final approval of

the class action settlement as fair, reasonable, and adequate pursuant to Federal Rule of Civil

Procedure 23(e); (2) finally certifying the class action for settlement purposes pursuant to

Federal Rule of Civil Procedure 23(b)(3) and (e); (3) dismissing this case with prejudice pursuant

to the terms of the Settlement Agreement; and (4) finding that the settlement class members are

bound by the releases set forth in the Settlement Agreement.

       In support of this motion, Plaintiff submits herewith a memorandum in support of final

approval and supporting materials including the Declaration of Barrett J. Vahle and the

Supplemental Declaration of Mark P. Rapazzini, Esq. regarding the notice and claims process. A

proposed order and final judgment will be submitted to the Court in advance of the final fairness

hearing.




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Dated: January 25, 2018                    Respectfully submitted,

                                           STUEVE SIEGEL HANSON LLP

                                           /s/ Barrett J. Vahle
                                           Norman E. Siegel     (D. Kan. No. 70354)
                                           Barrett J. Vahle     (D. Kan. No. 78300)
                                           J. Austin Moore      (D. Kan. No. 78557)
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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 25, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of the filing to all

counsel of record.


                                           By: /s/ Barrett J. Vahle
                                               Barrett J. Vahle




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